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 9                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11    In re Google RTC Consumer Privacy                   Case No. 4:21-cv-02155-YGR-VKD
12    Litigation,
                                                          DECLARATION OF ZUBAIR SHAFIQ, Ph.D.,
13                                                        IN SUPPORT OF PLAINTIFFS’
                                                          SUBMISSION PURSUANT TO DKTS. 231,
14    This document relates to: all actions.              236
15                                                        Magistrate Judge Virginia K. DeMarchi
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                                 DOCUMENT SOUGHT TO BE SEALED
21                                 REDACTED IN ITS ENTIRETY
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                                                                                   Case No. 4:21-cv-02155-YGR-VKD
                             Declaration of Zubair Shafiq, Ph.D. ISO Plaintiffs’ Submission Pursuant to Dkts. 231, 236
